Case: 24-1748    Document: 13     Page: 1   Filed: 08/22/2024




           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

      NATIONAL AIR TRAFFIC CONTROLLERS
            ASSOCIATION, AFL-CIO,
                    Petitioner

                             v.

      FEDERAL AVIATION ADMINISTRATION,
                   Respondent
             ______________________

                        2024-1748
                  ______________________

    Petition for review of an arbitrator’s decision in No.
 230711-NATC by Homer C. La Rue.
                  ______________________

                      ON MOTION
                  ______________________

 Before LOURIE, CUNNINGHAM, and STARK, Circuit Judges.
 LOURIE, Circuit Judge.
                          ORDER
      The National Air Traffic Controllers Association, AFL-
 CIO (“NATCA”) filed this petition from the arbitrator’s de-
 cision upholding the dismissal of Tyler A. Mack. The Fed-
 eral Aviation Administration (“FAA”) moves to dismiss the
Case: 24-1748     Document: 13     Page: 2    Filed: 08/22/2024




 2       NATIONAL AIR TRAFFIC CONTROLLERS ASSOCIATION v. FAA




 petition. The union opposes dismissal and moves for leave
 to join Mr. Mack as a party.
      Mr. Mack was hired as an air traffic controller special-
 ist trainee on June 24, 2021. According to the Notice of
 Proposed Removal, Mr. Mack was serving a one-year pro-
 bationary period when the agency removed him on June 9,
 2022. Mr. Mack’s union, NATCA, filed a grievance chal-
 lenging the removal, which led to the union taking the case
 to arbitration. On February 26, 2024, the arbitrator issued
 a decision denying the grievance. On April 24, 2024,
 NATCA filed a petition at this court seeking review of the
 arbitrator’s final decision.
     In American Federation of Government Employees, Lo-
 cal 1367 v. Department of the Air Force, 61 F.4th 952 (Fed.
 Cir. 2023) (“AFGE”), we considered whether a union could
 appeal an arbitrator’s decision. Based on longstanding
 precedent and statutory interpretation, we explained that
 “only the employee may appeal the unfavorable arbitration
 award,” and “unions lack standing to initiate an appeal.”
 Id. at 955 (citing 5 U.S.C. §§ 7121(f) and § 7703(a)(1)). We
 also ruled that the employee could not later be substituted
 to avoid dismissal. We explained: “a party may not substi-
 tute under Rule 43(b) [of the Federal Rules of Appellate
 Procedure] when the original party being substituted
 lacked standing to initiate the appeal.” Id. at 956.
     AFGE compels dismissal here. NATCA cannot file a
 petition challenging the arbitrator’s decision. 1 And while



     1   NATCA urges the court to find that NATCA can as-
 sert the claims of its members because it meets the require-
 ments for associational standing. But this court has
 repeatedly rejected this argument. See Reid v. Dep’t of
 Com., 793 F.2d 277, 279–82 (Fed. Cir. 1986); see also AFGE
 Local 3438 v. SSA, No. 2021-1972, 2022 WL 1653177, at *3
 (Fed. Cir. May 25, 2022).
Case: 24-1748    Document: 13      Page: 3     Filed: 08/22/2024




 NATIONAL AIR TRAFFIC CONTROLLERS ASSOCIATION v. FAA         3



 NATCA here has moved to join Mr. Mack, as opposed to
 substitution, that distinction makes no difference because
 NATCA was never a proper party to file a petition. 2
     Accordingly,
     IT IS ORDERED THAT:
     (1) FAA’s motion is granted. The petition for review is
 dismissed.
     (2) NATCA’s motion is denied.
     (3) Each side shall bear its own costs.
                                               FOR THE COURT




 August 22, 2024
     Date




     2   We cannot construe the union’s response and re-
 quest for joinder of Mr. Mack as a petition for review filed
 by Mr. Mack. See Fed. R. App. P. 15; Fed. R. App. P. 32(d)
 (“Every brief, motion, or other paper filed with the court
 must be signed by the party filing the paper or, if the party
 is represented, by one of the party’s attorneys.”).
